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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1257V
                                   Filed: September 12, 2016
                                           Unpublished

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LINDA ST. GEORGE,                     *
                                      *
                   Petitioner,        *      Joint Stipulation on Damages;
v.                                    *      Influenza (“Flu”) Vaccine; Guillain-Barré
                                      *      Syndrome (“GBS”); Special Processing
SECRETARY OF HEALTH                   *      Unit (“SPU”)
AND HUMAN SERVICES,                   *
                                      *
                   Respondent.        *
                                      *
****************************
Diana Sedar, Maglio Christopher and Toale, PA, Sarasota, FL, for petitioner.
Gordon Shemin, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

         On October 27, 2015, Linda St. George (“petitioner”), filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
suffered from Guillain-Barré Syndrome (“GBS”) as a result of receiving the influenza
(“flu”) vaccine on August 25, 2014. Pet. at ¶¶ 1, 10, 11; Stip., filed Sept. 12, 2016, at ¶¶
1, 2, 4. Petitioner further states that the vaccine was administered in the United States,
that she experienced the residual effects of her injury for more than six months, and that
there has been no prior award or settlement of a civil action for damages as a result of
her condition. Pet. at ¶¶ 1, 12, 16; Stip. at ¶¶ 3-5. Respondent denies that the vaccine
caused any injury to petitioner. Stip. at ¶ 6.

       Nevertheless, on September 12, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $140,000.00 in the form of a check payable to petitioner,
        Linda St. George. Stip. at ¶ 8. This amount represents compensation for all
        items of damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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